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           ORDERED in the Southern District of Florida on October 19, 2015.




                                                                      A. Jay Cristol, Judge
                                                                      United States Bankruptcy Court
_____________________________________________________________________________




                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                              www.flsb.uscourts.gov

          IN RE:                                                 CASE NO.: 15-20282-AJC
          MARVIN DELGADO                                              Chapter 13
          DELORES DELGADO DEL CARMEN
                 Debtors
          _________________________/

                 ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED
            STATUS OF LIEN ON REAL PROPERTY HELD BY WASHINGTON MUTUAL BANK/ JP
                               MORGAN CHASE BANK, USA, D.E. #32

                 THIS CASE came to be heard on September 21, 2015, on the Debtors’ Motion to Value and

          Determine Secured Status of Lien on Real Property held by WASHINGTON MUTUAL BANK/ JP

          MORGAN CHASE BANK, USA, (Docket Entry #32; the “Motion”). Based upon the Debtors’ assertions

          made in support of the Motion, without objection, having considered the record in this case, and being

          duly advised in the premises, the Court FINDS as follows:
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A. The value of Debtors’ real property (the “Real Property”) located at 1761 SW 11 Terrace,

      Miami, Florida 33135, more particularly described as

 B.   Legal Description: LOT 20 IN BLOCK 17 OF AMENDED MAP OF SHENANDOAH,
      ACCORDING TO THE PLAT THEREOF, RECORDED IN PLAT BOOK 8, PAGE 90
                      of the Public Records of Miami-Dade County, Florida

         is $165,701.00 at the time of filing of this case.

B.       The total of all claims secured by liens on the Real Property senior to the lien of

         WASHINGTON MUTUAL BANK/ JP MORGAN CHASE BANK, USA (the “Lender”)

         is $256,180.00.

C.       The equity remaining in the real property after payment of all claims secured by liens

         senior to the lien of Lender is $0.00 and Lender has a secured interest in the Real

         Property in such amount.

Consequently, it is ORDERED as follows:

1.       The motion is GRANTED.

2.       Lender has an allowed secured claim of $0.00.

3.       Because Lender’s secured interest in the Real Property is $0, Lender’s mortgage recorded

         on January 27, 2007 at Book 25314 Pages 3533-3538 (6 pages) in the official records of

         Miami-Dade County, Florida, shall be deemed void and shall be extinguished

         automatically, without further order of the Court, upon entry of the debtor’s discharge in

         this chapter 13 case. If this case is converted to a case under any other chapter or if the

         chapter 13 case is dismissed, Lender’s mortgage will no longer be considered void and

         shall be restored as a lien on the Real Property.

4.       Lender filed a proof of claim in this case (1-1). It shall be classified as a secured claim in

         the amount provided in paragraph two, above, and as a general unsecured claim in the

         amount of $50,000.00 regardless of the original classification in the proof of claim as

         filed.
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       5.       The Real Property may not be sold or refinanced without proper notice and further order

                of the Court.

       6.       Notwithstanding the foregoing, this Order is not recordable or enforceable until the

                debtor receives a discharge in this chapter 13 case.

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Submitted By:

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Attorney for debtor is directed to serve a conformed copy of this Order on all interested parties
immediately upon receipt hereof and to file a certificate of service.
